Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 1 of 10 Pageid#: 4029




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                                 Harrisonburg Division



   CONSUMER FINANCIAL PROTECTION
   BUREAU, et al.,

        Plaintiffs,

   v.                                        Case No.: 5:21-cv-00016-EKD-JCH

   NEXUS SERVICES, INC., et al.,

        Defendants.



        MOTION FOR AN ORDER TO SHOW CAUSE WHY DEFENDANTS AND LIBRE
        IMMIGRATION SERVICES, INC. SHOULD NOT BE HELD IN CONTEMPT AND
                         SUPPORTING MEMORANDUM
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 2 of 10 Pageid#: 4030




          This Court’s April 1, 2024 Amended Final Judgment and Order (Judgment) prohibits

  Defendants from transferring consumer data and selling any right to collect on contracts that the

  Court found unlawful.1 But two weeks later, Defendants sold, and Libre Immigration Services,

  Inc. (LIS) bought, the consumer data and contracts.2 In their filings following the sale and

  through representations made by Defendants’ counsel at the hearing before the Court on May 28,

  2024, Defendants and LIS removed any doubt that Defendants sold consumer data and the right

  to collect on their contracts in contravention of the Judgment. Plaintiffs Consumer Financial

  Protection Bureau, the Commonwealths of Massachusetts and Virginia, and the State of New

  York therefore move the Court for an order requiring Defendants and LIS to show cause why

  each should not be held in contempt for violating the Judgment.

                                                BACKGROUND

          The Judgment requires Defendants to pay more than $230 million in redress to

  consumers and a collective $580 million in civil penalties.3 The Judgment also protects

  consumers from further harm through injunctive provisions, such as a prohibition on making

  various types of misrepresentations, prohibitions on collecting and retaining payments based on

  existing contracts, and a requirement to disclose certain facts in an accessible language before a

  customer enrolls.4

          Relevant to the instant motion, the Judgment establishes guardrails if Defendants transfer

  any part of their business. It provides that if Defendants seek “to transfer or assign all or part of

  their operations that are subject to this Order, Defendants must, as a condition of sale, obtain the


  1 Am. Final J. Order (Am. J.) ¶ 19(b), ECF No. 246.
  2 Individual Defendants Ajin and Donovan signed the purchase and sale agreement on behalf of Nexus Services, Inc.

  and Libre by Nexus, Inc. (Entity Defendants). It is not clear what level of involvement Defendant Moore has in
  Entity Defendants generally or the sale specifically; given the ambiguity, Defendant Moore should similarly show
  cause as to why he should not be held in contempt for violating the Court’s Judgment.
  3 Am. J. ¶¶ 6–10.
  4 Id. ¶¶ 14, 15, 17, 18.
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 3 of 10 Pageid#: 4031




  written agreement of the transferee or assignee to comply with all applicable provisions of this

  Order.” 5 And the Judgment also makes clear that there are some things Defendants cannot

  transfer at all: to protect the consumers Defendants deceptively enrolled from further harm,

  Paragraph 19 prohibits Defendants and “all other persons in active concert or participation with

  any of them” from “disclos[ing], us[ing], or benefit[ing] from customer information” and

  “attempt[ing] to collect, sell, assign or otherwise transfer any right to collect payment from any

  consumer who entered into an agreement for Nexus Immigration Bond Services with

  Defendants.”6

            On April 11, 2024, Defendants moved to stay significant portions of the Judgment,

  including Paragraph 19, to enable a sale of Libre by Nexus, Inc. and Nexus Services, Inc to LIS. 7

  But before Plaintiffs had an opportunity to respond to the motion, Defendants and LIS completed

  the sale.8 LIS was aware of the Judgment at the time of the sale: LIS’s CEO, Vincent J. Smith,

  declared that he had “reviewed the Court’s Amended Judgment and Order” and agreed “to

  comply with all applicable provisions of that Order, pursuant to Paragraph 75 of that Amended

  Judgment and Order.”9 The purchase and sale agreement also acknowledged the Judgment.10 At

  the May 28, 2024 hearing on Defendants’ stay motion, Defendants’ counsel confirmed before the

  Court that: (1) LIS had notice of the Judgment before the sale; and (2) the sale is complete.




  5 Id. ¶ 75.
  6 Id. ¶ 19.
  7 Defs.’ Mot. for a Temp. Stay Pending Appeal, ECF No. 249.
  8 See Decl. of Vincent J. Smith (Smith Decl. in Supp. of Mot. to Stay) ¶ 2, ECF No. 253; Asset Purchase Agreement,

  ECF No. 253-1.
  9 Smith Decl. in Supp. of Mot. to Stay ¶ 3.
  10 Asset Purchase Agreement § 1.03(a)(v) (“Buyer shall assume and agree to pay, perform, and discharge . . . those

  Liabilities arising from the Amended Order and Judgment, entered April 1, 2024, and which were required to be
  transferred pursuant to paragraph 75, in CFPB, et al. v. Libre by Nexus, Inc., et al., No. 5:21-cv-00016 (W.D. Va.) . .
  . .”); id. (“Liabilites [sic] required transferred per court order in CFPB, et al. v. Libre by Nexus, Inc., et al., No. 5:21-
  cv-00016” under “Included Liabilities”).

                                                               2
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 4 of 10 Pageid#: 4032




            Despite full awareness of the Judgment and Paragraph 19’s express prohibitions,

  Defendants sold, and LIS bought, consumer data and contracts, including: accounts receivables;11

  contracts;12 and books and records, including “customer lists,” “customer purchasing histories,”

  and “customer complaints and inquiry files.”13 The purchase and sale agreement, dated April 17,

  2024, specifically listed the sale of: “Libre Client Accounts,” “Libre Email List,” “Libre Text

  List,” “Immigration Legal List,” “VA-Criminal Legal List,” “Accounts Receivable,”14 and “[a]ll

  other Contracts which Nexus Services, Inc. and Libre by Nexus, Inc. have rights under,” which

  includes the contracts that Defendants entered with consumers that are covered by the

  Judgment.15 Two days later, LIS acquired those assets.16

            Then, LIS (represented by the same counsel as Defendants) sought to intervene in

  Defendants’ appeal of this case in the Fourth Circuit to contest the obligations it is required to

  assume under the Judgment and request the invalidation of Paragraph 19.17 LIS’s stated basis for

  intervention is to protect its interests, which LIS claims are “fundamentally different” from

  Defendants’, because Defendants have sold LIS assets relevant to Paragraph 19 and thus do not

  have an interest in challenging that provision.18 LIS’s motion confirmed that Defendants have, in

  fact, sold—and LIS has bought—Defendants’ consumer data and contracts, including the right to




  11 Id. § 1.01(b).
  12 Id. § 1.01(d).
  13 Id. § 1.01(i).
  14 Id. (listing items under “Intangible Property and Cash”).
  15 Id. (listing items under “Assigned Contracts”).
  16 Libre Immigration Services, Inc.’s Mot. to Intervene at 4, CFPB v. Nexus Servs., Inc., No. 24-1334 (4th Cir. filed

  May 1, 2024), ECF No. 11-1 (“Intervenor acquired the assets of Corporate Appellants on April 19, 2024.”); id. at 10
  (“[u]ntil April 19, 2024, when LIS acquired the assets of Corporate Appellants”); id. at 11 (“Intervenor [] closed on
  the purchase of assets on April 19, 2024.”).
  17 See id. at 5.
  18 See id. at 17 (“While Corporate Appellants could prior to the acquisition have made those arguments, they are no

  longer available to them because they have now transferred the assets to LIS.”).

                                                            3
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 5 of 10 Pageid#: 4033




  collect under those contracts.19 Plaintiffs have opposed LIS’s motion; the motion is currently

  pending before the Fourth Circuit.

                                                    ARGUMENT

  I.       Legal Standard

           This Court has inherent authority to enforce compliance with its orders through the

  remedy of civil contempt. To establish contempt, the moving party must show by clear and

  convincing evidence:

           (1) the existence of a valid decree of which the alleged contemnor had actual or
           constructive knowledge; (2) that the decree was in the movant's favor; (3) that the
           alleged contemnor by its conduct violated the terms of the decree, and had
           knowledge (at least constructive knowledge) of such violations; and (4) that the
           movant suffered harm as a result.20

  II.      Defendants Sold, and LIS Bought, Consumer Data and Contracts in Violation of the
           Judgment.

           No doubt exists regarding Defendants’ and LIS’s actual knowledge of the Court’s

  Judgment. The Judgment bound all Defendants and LIS, which had actual notice of the Judgment

  and acted in concert with Defendants. 21 Nor is there any doubt that the Court issued the Judgment

  in Plaintiffs’ favor; the Judgment enjoined Defendants from harming consumers, required

  consumer redress, and ordered civil money penalties.

           Defendants and LIS also cannot contest that Defendants sold, and LIS purchased,

  consumer data and contracts despite the Judgment’s unequivocal prohibitions. Paragraph 19’s


  19 Id. at 4 (“As part of the asset purchase agreement, Intervenor was assigned rights to Corporate Appellants’

  contracts, assumed liabilities and obligations under the judgment and order, and obtained virtually all assets of
  Corporate Appellants.”); id. at 20 (“Corporate Entities have assigned contracts to LIS . . . .”); id. at 17 (“[O]nly LIS
  has an operating concern that interreacts [sic] with clients . . . .”).
  20 FTC v. Pukke, 53 F.4th 80, 101 (4th Cir. 2022) (quoting De Simone v. VSL Pharms., Inc., 36 F.4th 518, 529 (4th

  Cir. 2022)) (cleaned up).
  21 See Fed. R. Civ. P. 65(d)(2)(C) (providing that injunction binds “persons who are in active concert or participation

  with” a party who receive “actual notice” of the order); Am. J. ¶ 19 (specifically binding Defendants as well as “all
  other persons in active concert or participation with” Defendants “who receive actual notice of this Order”); Smith
  Decl. in Supp. of Mot. to Stay ¶ 3 (stating that LIS’s CEO had reviewed the Order); Asset Purchase Agreement §
  1.03(a)(v), Included Liabilities.

                                                             4
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 6 of 10 Pageid#: 4034




  provisions are uncomplicated: Paragraph 19a prohibits Defendants and those acting in concert

  with them from disclosing, using, or benefitting from consumer data; Paragraph 19b prohibits

  Defendants and those acting in concert with them from, among other things, attempting to sell,

  assign, or otherwise transfer any right to collect payments on existing consumer contracts. The

  purchase and sale agreement contains definite and specific terms and provisions demonstrating

  that Libre sold, and LIS bought, (1) consumer data; and (2) consumer contracts, including the

  right to collect on them in the future.22 And LIS’s motion to intervene in the appellate court, as

  well as Defendants’ most recent representations at the stay hearing, further confirmed the sale of

  consumer data and contracts. 23

           Although all of the filings make plain that Defendants have sold the consumer data and

  contracts, LIS newly claimed in its Fourth Circuit reply briefing on its intervention motion that a

  Libre contractor—Subversivo LLC—is in current possession of the consumer data and

  contracts. 24 Even if that were so, it does not change the conclusion that Defendants and LIS are in

  violation of Paragraph 19. As a special master in another case in this district involving the same

  Entity Defendants recently found, “Nexus’s statements through counsel that the debtor is unable

  to retrieve data and documents from Subversivo are not credible,” and the entire arrangement

  between Libre and Subversivo was “little more than” a “fraudulent conveyance” designed to

  shield assets from creditors.25 The terms of the agreements between Libre and Subversivo

  confirm that Libre continued to have access to consumer data and a residual right to collect on




  22 Asset Purchase Agreement § 1.01, Intangible Property and Cash, Assigned Contracts; see also infra n.11–15.
  23 Libre Immigration Services, Inc.’s Mot. to Intervene at 4, 20, CFPB v. Nexus Servs., Inc., No. 24-1334 (4th Cir.

  filed May 1, 2024), ECF No. 11; see also infra n.16, 18, 19.
  24 See Decl. of Vincent Smith (Smith Decl. in Supp. of Mot. to Intervene) ¶¶ 7, 14, CFPB v. Nexus Servs., Inc., No.

  24-1334 (4th Cir. filed May 20, 2024), ECF No. 22-2.
  25 RLI Ins. Co. v. Nexus Servs., Inc., No. 5:18-CV-066, 2024 WL 2237678, at *4 (W.D. Va. May 17, 2024).


                                                            5
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 7 of 10 Pageid#: 4035




  consumer contracts, 26 which has now been transferred to LIS. Indeed, LIS even conceded in the

  Fourth Circuit that it now stands in Libre’s shoes with respect to those contracting agreements,

  and will seek to take back any functional control from Subversivo “as soon as humanly

  possible.”27

          The sale of consumer data and contracts injures the government agency Plaintiffs’ ability

  to protect the consumers who were harmed by Defendants’ unlawful conduct. Much of the

  Judgment is targeted at ensuring Defendants’ and others’ present and future compliance.28

  Paragraph 19 is necessary to ensure that consumer data and contracts are kept in the possession

  of one entity so Plaintiffs can best monitor compliance with the Judgment. By selling the

  consumer data and contracts, Defendants disregarded this core protection the Court put in place

  for consumers who were harmed by Defendants’ underlying conduct. Defendants’ and LIS’s

  contumacious conduct further elevates the risk that consumer data will be abused. This

  prohibited transfer threatens to expose consumers’ personal and financial information to be used

  and benefited from without consumers’ knowledge and increases the likelihood that LIS or a

  subsequent purchaser will attempt to evade the Judgment’s protections. The illegal transfer of

  consumers’ contracts not only harms consumers, who may face collections on debts they do not

  owe but also undermines the Judgment’s other prohibitions on collecting and retaining

  payments.29




  26 See Admin. Servs. Agreement at 2, CFPB v. Nexus Servs., Inc., No. 24-1334 (4th Cir. filed May 20, 2024), ECF

  No. 22-3 (giving Libre the “absolute right to inspect, make copies of, or otherwise review” Subversivo’s “program
  records”); Loan Repayment Agreement at 5–6, CFPB v. Nexus Servs., Inc., No. 24-1334 (4th Cir. filed May 20,
  2024), ECF No. 22-3 (providing that assignment from Libre to Subversivo of right to repayment from collecting on
  consumer contracts will be released upon full repayment of $1 million loan).
  27 Smith Decl. in Supp. of Mot. to Intervene ¶ 13.
  28 See, e.g., Am. J. ¶¶ 14–19; 54–67; 71–73.
  29 See Am. J. ¶ 17.


                                                          6
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 8 of 10 Pageid#: 4036




  III.    Requested Relief

          In light of the violations set forth above, Plaintiffs request that the Court order

  Defendants and LIS to show cause why they should not be held in contempt for their violations

  of this Court’s order.

          If the Court finds Defendants and LIS in civil contempt, the Court has broad discretion to

  fashion an appropriate remedy.30 “[T]he remedies and sanctions must be remedial and

  compensatory and, unlike criminal contempt, nonpunitive.”31 In this case, the Court should order

  LIS and Defendants to reverse the portions of the sale that violate the Judgment, specifically the

  sale of consumer data and the sale or assignment of consumer contracts that are covered by the

  Judgment. LIS must destroy any duplicates of consumer data and contracts in its possession. All

  parties must confirm compliance to this Court’s satisfaction (including through, at a minimum,

  an attestation). LIS and Defendants should also be ordered to immediately cease collecting on

  any outstanding contracts if they are doing so; and disclose, account for, and disgorge to

  consumers all money collected on the contracts to date within fourteen days of being found in

  contempt. The Court could also consider monetary sanctions against LIS and Defendants on a

  per day basis for failing to comply in the time stated.

                                                CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant Plaintiffs’

  motion and order the requested relief set forth above.




  30 See In re Gen. Motors Corp., 61 F.3d 256, 259 (4th Cir. 1995) (citing McComb v. Jacksonville Paper Co., 336

  U.S. 187, 193–94 (1949)).
  31 Id. (citing United States v. United Mine Workers of Am., 330 U.S. 258, 302–04 (1947)).


                                                          7
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 9 of 10 Pageid#: 4037




  Dated: May 30, 2024       Respectfully submitted,

                            Attorneys for the Consumer Financial Protection Bureau

                            Eric Halperin
                                Enforcement Director
                            Alusheyi J. Wheeler
                                Deputy Enforcement Director
                            Kara K. Miller
                                Assistant Litigation Deputy

                            Hai Binh T. Nguyen
                            California Bar Number: 313503
                            Leanne E. Hartmann
                            California Bar Number: 264787
                            Lee I. Sherman
                            California Bar Number: 272271
                            Stephanie B. Garlock
                            D.C. Bar Number: 1179629
                            Consumer Financial Protection Bureau
                            1700 G Street, NW
                            Washington, DC 20552
                            Telephone (Nguyen): (202) 435-7251
                            Telephone (Hartmann): (415) 844-9787
                            Telephone (Sherman): (202) 374-4575
                            Telephone (Garlock): (202) 435-7201
                            Email: haibinh.nguyen@cfpb.gov
                            Email: leanne.hartmann@cfpb.gov
                            Email: lee.sherman@cfpb.gov
                            Email: stephanie.garlock@cfpb.gov


                            Attorneys for the Commonwealth of Virginia, ex rel. Jason S.
                                Miyares, Attorney General

                            Jason S. Miyares
                               Attorney General
                            Charles H. Slemp, III
                               Chief Deputy Attorney General
                            Steven G. Popps
                               Deputy Attorney General
                            Richard S. Schweiker, Jr.
                               Chief and Senior Assistant Attorney General

                            James E. Scott
                            Senior Assistant Attorney General
                            Virginia Bar Number: 88882
                                          8
Case 5:21-cv-00016-EKD-JCH Document 260 Filed 05/30/24 Page 10 of 10 Pageid#: 4038




                             Office of the Attorney General
                             Consumer Protection Section
                             202 North Ninth Street
                             Richmond, VA 23219
                             Telephone: (804) 225-4778
                             Fax: (804) 786-0122
                             Email: jscott@oag.state.va.us


                             Attorneys for the Commonwealth of Massachusetts

                             Andrea Campbell
                                Attorney General

                             Jon Burke
                             Massachusetts Bar Number: 673472
                             Assistant Attorney General
                             Office of the Attorney General
                             10 Mechanic Street
                             Worcester, MA 01608
                             Telephone: (774) 214-4416
                             Fax: (508) 795-1991
                             Email: Jonathan.burke@mass.gov


                             Attorneys for the People of the State of New York

                             LETITIA JAMES
                               Attorney General

                             Jane Azia (New York Bar Number: 1539600)
                                Bureau Chief for the Bureau of Consumer Frauds and
                                Protection
                             Laura Levine (New York Bar Number: 2337368)
                                Deputy Bureau Chief for the Bureau of Consumer Frauds
                                and Protection

                             Franklin H. Romeo
                             New York Bar Number: 4422051
                             Assistant Attorney General
                             Office of the Attorney General
                             28 Liberty Street
                             New York, NY 10005
                             Telephone: (212) 416-8320
                             Fax: (212) 416-6003
                             Email: franklin.romeo@ag.ny.gov

                                           9
